

People v Ashley (2025 NY Slip Op 02286)





People v Ashley


2025 NY Slip Op 02286


Decided on April 22, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 22, 2025

Before: Webber, J.P., Friedman, González, Shulman, Rosado, JJ. 


Ind. No. 1567/18, 1894C/18|Appeal No. 4145|Case No. Case No. 2020-01327|

[*1]The People of the State of New York, Respondent,
vJeffrey Ashley, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Katheryne M. Martone of counsel), for appellant



Judgment, Supreme Court, Bronx County (Steven Hornstein, J.), rendered on or about January 23, 2020, convicting defendant, upon his pleas of guilty, of assault in the second degree and assault in the third degree, and sentencing him to an aggregate term of two years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharges and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 22, 2025








